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 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK
 ---------------------------------------------------------------X
 UNITED STATES,                                                   MEMORANDUM AND ORDER
  - against -                                                       2:20-cr-48 (DRH) (ARL)
 CURTIS PRUSSICK,
                                       Defendant.
 ---------------------------------------------------------------X

 APPEARANCES

 BREON PEACE
 UNITED STATES ATTORNEY FOR THE EASTERN DISTRICT OF
 NEW YORK
 610 Federal Plaza
 Central Islip, NY 11722
 By: Michael R. Maffei, Esq.

 KEAHON, FLEISCHER & FERRANTE
 Attorneys for Defendant
 1393 Veterans Memorial Highway, Suite 312 North
 Hauppauge, NY 11788
 By: Joseph Ferrante, Esq.


 HURLEY, Senior District Judge:

                                             INTRODUCTION

         Defendant Curtis Prussick (“Prussick”) made a pretrial motion on March 19,

 2021 seeking relief on a number of grounds. After the motion was fully submitted on

 June 8, 2021, the Court granted the parties’ request to hold its decision in abeyance

 pending plea negotiations. On September 3, 2021, when ongoing plea negotiations

 proved unproductive, the Court placed the motion back on its docket. This written

 decision follows the Court’s bench decision issued on October 8, 2021, which denied




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 portions of Prussick’s application and reserved decision on the rest. For the reasons

 stated below, the outstanding requests in Prussick’s application are denied.

                                      BACKGROUND

        The factual summary below draws from Indictment, the State Felony

 Complaint, and the affidavits submitted in the parties’ motion papers. [DEs 1, 59-1,

 59-3 to -5]. The Court directs the reader to its October 8, 2021 bench decision

 transcript for a full recitation of facts.

        On January 11, 2020, Detective Patrick McDermott (“McDermott”) learned

 from his law enforcement partners that occupants of a Chevy Cruze with license plate

 HLD9348 were reportedly dealing drugs in a Rocky Point, New York McDonalds

 parking lot. Individuals would pull up alongside the Cruze, leave their car, enter

 Cruze’s backseat, engage in a hand-to-hand transaction with individuals in the

 Cruze’s front seat, return to their car and drive away. The entire interaction would

 occur in a few minutes at most. McDermott performed a background check into the

 Cruze’s registration and discovered that Amber Schatz (“Schatz”) was the registered

 owner. McDermott knew of Schatz from his history with the Suffolk County District

 Attorney’s Office’s East End Drug Taskforce (“EEDTF”); he specifically knew Schatz

 associated with Prussick. Five years prior, McDermott had observed the two selling

 narcotics in a similar manner.

        On January 14, 2020, McDermott surveilled Prussick and Schatz in the Cruze

 in the Rocky Point McDonalds parking lot. Shortly after they arrived, a Dodge pickup

 truck entered the lot and parked adjacent to the Cruze. Prussick exited the Cruze’s




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 driver seat and the pickup truck driver entered its backseat.         The front-seat

 passenger engaged in a hand-to-hand exchange with the pickup driver, who promptly

 exited the Cruze and drove away. Prussick then re-entered the Cruze.

       A few minutes later, a black Mercedes arrived and parked adjacent to the

 Cruze. McDermott activated his video camera and recorded the encounter. As before,

 Prussick left the Cruze, the Mercedes driver entered its back seat, the front-seat

 passenger conducted a hand-to-hand transaction, and the Mercedes driver left – all

 of which took place within a minute.       Prussick re-entered the Cruze once the

 Mercedes driver left.

       On January 23, 2021, McDermott and EEDTF members observed Prussick

 leave a homesite at 42 Lewin Drive in Wading River, New York, enter the Cruze, and

 drive to a shopping center parking lot in Shoreham, New York. They then saw a

 white Jeep park near the Cruze. When the Jeep driver exited his vehicle and entered

 the Cruze’s back seat, McDermott pulled up to a position in the parking lot from

 which he could observe the Cruze and its occupants.          Seeing a hand-to-hand

 transaction between the front- and backseat passenger, McDermott decided to arrest

 Prussick and Schatz.

       After the arrest, McDermott obtained a warrant to search 42 Lewin Drive, from

 which Prussick and Schatz departed earlier that day.1         The search uncovered



 1     Prussick contends the Government lacked probable cause to obtain a search
 warrant for 42 Lewin Drive. Def. Mem. at 2–3, 5–6, 9; Def. Reply at 5–9. First,
 Prussick challenges the basis for the police’s contention that 42 Lewin was his “known
 address.” Def. Mem. at 2–3. Second, Prussick challenges the nexus between 42 Lewin
 and the drug dealing activity. Def. Mem. at 5–6, 9. To the extent this issue remains


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 unresolved after the Court’s October 8, 2021 bench decision and October 20, 2021
 status conference, the Court finds that the magistrate had a substantial basis to
 conclude probable cause sufficient to issue the search warrant existed.
        “Probable cause to search is demonstrated where the totality of circumstances
 indicates a ‘fair probability that contraband or evidence of a crime will be found in a
 particular place.’” Walczyk v. Rio, 496 F.3d 139, 156 (2d Cir. 2007) (quoting Illinois
 v. Gates, 462 U.S. 213, 238, 103 S. Ct. 2317, 76 L.Ed.2d 527 (1983)). This Court need
 only “ensure that the magistrate had a “substantial basis for concluding that probable
 cause existed.” Illinois v. Gates, 462 U.S. at 238 (internal quotation marks and
 ellipses omitted).
        McDermott’s knowledge that 42 Lewin Drive was Prussick’s “known address”
 is based on prior events that are detailed in Prussick’s affidavits submitted in support
 of his pretrial motion. Lewin Drive is “a dead end block with only 9 houses on it.”
 Affidavits of Curtis Prussick, Exs. C, D [DEs 59-3, 59-4] to Def. Mem. On November
 30, 2019—roughly two months before Prussick’s arrest—Schatz and Prussick
 “head[ed] to 42 Lewin Drive” and, after “turn[ing] onto the block of Lewin Drive,”
 were threatened at knifepoint “on Lewin Drive.” Id. Prussick and Schatz “stay[ed]
 on the scene,” “called 911,” “remained till the police arrived,” and “made a police
 report.” Id. Prussick avers that, after the incident, “Schatz [was] scared to be at 42
 Lewin,” in part because the perpetrator “knew . . . that we possibl[y] lived on Lewin
 Drive.” Id.; see Def. Mem. at 11 (“[A]s can be seen in Prussick’s affidavit in support
 of this motion, Schatz purchased the rifle after they had a scary confrontation with
 an intruder near their home on or about November 30, 2019.” (emphasis added)). The
 Court also notes parenthetically that the February 18, 2020 bail hearing’s recorded
 audio reflects Prussick audibly telling his attorney that he resides at “42 Lewin,” [DE
 14] (FTR Log #2:09:30–2:11:00, 2:17:00–2:18:00), which did not match the address he
 gave to Pretrial Services, id.; see [DE 15] at 3 of 3 (“false address used”).
        The nexus between 42 Lewin and the drug dealing activity is established by
 the circumstances leading up to Prussick’s arrest. On the day of Prussick’s arrest,
 the same day the magistrate issued the search warrant, McDermott and EEDTF
 observed Prussick drive the Cruze from 42 Lewin to the parking lot in Shoreham. Ex.
 A to Def. Mem. The “short time between” Prussick’s departure from 42 Lewin and
 the transactions in the Shoreham parking lot “provides a ‘reasonable inference’ of a
 nexus between the drug [dealing activity] and his residence ‘based on common sense.’”
 See United States v. Muhammad, 520 Fed. App’x 31, 38–39 (2d Cir. 2013) (quoting
 United States v. Singh, 390 F.3d 168, 182 (2d Cir. 2004)).
        The totality of the circumstances presented to the magistrate therefore gave
 him a substantial basis to determine probable cause to search 42 Lewin existed. And
 even if it did not, “the warrant application was not ‘so lacking in indicia of probable
 cause as to render reliance upon it unreasonable,”’ i.e., the officers who obtained the
 warrant acted “with objective good faith.” Id. (quoting United States v. Leon, 468 U.S.
 897, 920, 104 S. Ct. 3405, 82 L.Ed.2d 677 (1984) and United States v. Moore, 968 F.2d
 216, 222 (2d Cir.1992)). Either suffices to deny Prussick’s motion to suppress.


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 narcotics, narcotics paraphernalia, narcotics processing material, an assault rifle,

 and cash.

         On February 4, 2020, a grand jury indicted Prussick on three charges:

 conspiracy to distribute and possess with intent to distribute controlled substances,

 21 U.S.C. §§ 841(b)(1)(B)(iii), (b)(1)(B)(vi), (b)(1)(C) (Count I); possession of controlled

 substances with the intent to distribute, 21 U.S.C. §§ 841(b)(1)(B)(iii), (b)(1)(B)(vi),

 (b)(1)(C) (Count II); and unlawful use of a firearm, 18 U.S.C. § 924(c)(1)(A)(i) (Count

 III).

         On March 19, 2021, Prussick filed the instant motion. [DE 59]. The parties

 fully submitted briefing on June 8, 2021. [DE 69]. On June 16, 2021, the Court

 granted the parties’ request to hold its decision in abeyance pending plea

 negotiations. Id. At a September 3, 2021 status conference, the Court placed the

 motion back on its docket after the parties represented that ongoing plea negotiations

 had stalled. [DE 75]. On October 8, 2021, the Court issued a bench decision, denying

 the portions of Prussick’s motion addressed to the suppression of evidence and

 inspection of grand jury materials and reserving decision on Prussick’s application to

 (I) dismiss Count III of the Indictment and (II) compel the Government to produce

 certain discovery.

                                      DISCUSSION

 I.      Motion to Dismiss Count Three III of the Indictment

         Count III of the Indictment charges a firearms offense in violation of 18 U.S.C.

 § 924(c)(1)(A)(i). Prussick moves to dismiss the charge because “there is no evidence




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 proffered” in its support; he does not challenge the Indictment’s facial validity. 2 See

 Def. Opening Memorandum at 9–16 (“Def. Mem.”) [DE 59] . Prussick contends that

 a “full proffer of the government’s evidence” demonstrates “there is nothing that

 establishes a nexus between the firearm” and the charges for narcotics conspiracy

 and narcotics possession with the intent to distribute count. See Def. Mem. at 9. The

 Government responds: “[A]t this time, there has been no ‘full proffer’ of the

 [G]overnment’s evidence,” and notwithstanding the incomplete proffer, “there is

 sufficient evidence available to support a conviction.” Gov’t Opposition Memorandum

 at 38 (“Gov’t Opp.”) [DE 61].

       The Government must be given “an opportunity to ‘make a detailed

 presentation of the entirety of the evidence before’” a district court may dismiss an

 indictment on evidentiary sufficiency grounds. United States v. Wedd, 993 F.3d 104,

 121 (2d Cir. 2021) (quoting United States v. Sampson, 898 F.3d 270, 282 (2d Cir.

 2018)). Accordingly, “[o]n a pretrial motion to dismiss an indictment, the Court

 accepts the allegations in the indictment as true and focuses on the legal sufficiency

 of the indictment itself, without ruling on the legal sufficiency of the evidence or

 contrary assertions of fact.”   United States v. Rosado, 2021 WL 2292856, at *1




 2       A facially valid indictment “track[s] the language of the statute charged and
 state[s] the time and place[s] (in approximate terms) of the alleged crime.” United
 States v. Ochoa, 2019 WL 3239419, at *6 (S.D.N.Y. July 18, 2019) (internal quotation
 marks omitted); see Hamling v. United States, 418 U.S. 87, 117 (1974) (“[A]n
 indictment is sufficient if it, first, contains the elements of the offense charged and
 fairly informs a defendant of the charge against which he must defend, and, second,
 enables him to plead an acquittal or conviction in bar of future prosecutions for the
 same offense.”).


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 (S.D.N.Y. June 4, 2021) (internal quotation marks omitted).                 There is an

 “extraordinarily narrow” exception: “the sufficiency of the [G]overnment’s evidence

 on a” pretrial motion to dismiss an indictment may be tested where “the government

 has made what can fairly be described as a full proffer of the evidence it intends to

 present at trial.” Sampson, 898 F.3d at 282 (discussing United States v. Alfonso, 143

 F.3d 772 (2d Cir. 1998)).

        The Court gleans what may constitute a “full proffer” by comparing precedent.

 In United States v. Mennuti, the Government “ma[de] a full proffer of the evidence”

 via a “detailed presentation of the entirety of the evidence that it would present to a

 jury.” Alfonso, 143 F.3d at 777 (discussing Mennuti, 639 F.2d 107, 108–109 & n.1 (2d

 Cir. 1981). That “full proffer” is reflected in footnote 1 of the Mennuti Court’s decision,

 which helpfully copied the U.S. Attorney’s affidavit “stating the facts on which [the

 Government] would rely as showing defendants’ alleged acts” sufficed to prove guilt.

 Mennuti, 639 F.2d at 108 n.1; e.g., United States v. Taylor, 2003 WL 22073040, at *1–

 2 & n.10 (S.D.N.Y. Sept. 5, 2003) (“full proffer” made pursuant to a “stipulated record”

 consisting of the same evidence already submitted at a co-defendant’s trial). In

 United States v. Urso, by contrast, the Government’s earlier motion for pretrial

 detention reflected a “limited proffer” because it only “summarize[d], typically in a

 single sentence, the testimony that each of a string of cooperating witnesses [was]

 expected to give, and the physical evidence that the government expect[ed] to present

 to the jury.” 369 F. Supp. 2d 254, 259–60 (E.D.N.Y. 2005); e.g., United States v. Yaron,

 2011 WL 3279054, at *2 n.4 (S.D.N.Y. July 28, 2011) (parties’ oral argument on a




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 motion to dismiss an indictment did not “constitute a full proffer of the Government’s

 evidence to be presented at trial”); Rosado, 2021 WL 2292856, at *2 (presentation of

 a “closed universe of evidence” was not a “full proffer”).

       While the Government “in some cases . . . may actually favor” a pretrial

 determination of the sufficiency of evidence, it does not here. See Alfonso, 143 F.3d

 at 777 n.7. The Government denies the notion that it made a full proffer. Gov’t Opp.

 at 38. To hold, consistent with Prussick’s assertion, that the Government’s case “will

 not be proved by witness statements or coconspirator testimony” at trial requires an

 inference premature as this juncture. Def. Mem. at 15; e.g., Alfonso, 143 F.3d at 776

 (reversing dismissal of an indictment due to the district court looking “beyond the

 face of the indictment and [drawing] inferences as to the proof that would be

 introduced by the government at trial”); United States v. Silver, 117 F. Supp. 3d 461,

 469 (S.D.N.Y. 2015) (“Silver’s ‘inferences as to the proof that would be introduced by

 the government at trial’ are insufficient to merit dismissal of the count at this early

 stage . . . .”). It remains to be seen what evidence the Government will produce at

 trial in an effort to prove Count III and the Court cannot fairly say, based on the

 record as it now stands, that the Government has made a full proffer. E.g., United

 States v. Ochoa, 2019 WL 3239419, at *6 (S.D.N.Y. July 18, 2019) (denying a motion

 to dismiss an indictment because “it is unclear whether the Government has proffered

 all of the evidence that it intends to produce at trial in support of count two”); United

 States v. Law, 2017 WL 1435746, at *1 (S.D.N.Y. Apr. 21, 2017) (“Nothing in the

 record, such as fully stipulated facts or a Government affidavit, suggests that the




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 Government has made a full proffer.”). Prussick’s motion to dismiss Count III of the

 Indictment based on the sufficiency of the evidence is denied.

 II.   Discovery Demands

       Prussick moves the Court to compel the Government to provide several items

 of discovery. He, however, fails to include “an affidavit certifying [his] counsel has

 conferred with counsel for the [Government] in an effort in good faith to resolve by

 agreement the issues raised by the motion without the intervention of the Court and

 has been unable to reach agreement.” Loc. Crim. R. 16.1. Additionally, Prussick does

 not allege that the Government has improperly withheld information or evidence it

 is obliged to provide in discovery, and the Government acknowledges its continuing

 duty to disclose such materials. See, e.g., United States v. Bocio, 103 F. Supp. 2d 531,

 533–35 (N.D.N.Y. 2000). These two bases suffice to deny Prussick’s motion to compel

 discovery. The Court nonetheless addresses Prussick’s requests in the order he briefs

 them. Def. Mem. at 17–25.

       Prussick first requests that “the alleged fentanyl be properly tested and broken

 down into its chemical composition and purity” to facilitate his determination as to

 whether an expert is necessary. Def. Mem. at 17. Under the Federal Rules of

 Criminal Procedure, the Government must disclose “the results or reports . . . of any

 scientific test or experiment” if, inter alia, they are currently in the Government’s

 “possession, custody, or control.” Fed. R. Crim. P. 16(a)(1)(F). The Government states

 the charges “merely require[] proof of a control substance or a mixture or substance

 ‘containing’ the specific controlled substance charged.” Gov’t Opp. at 48–49. That is,




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  the Government contends it is not required to determine the “purity”—viz. the

  prevalence of the substance’s component materials—and no laboratory reports

  testing purity “exist at this time.” Gov’t Opp. at 48–49. Prussick further requests

  that the Court order the Government to presently undertake such testing, but he cites

  no legal authority in support. The Court denies Prussick’s motion on this issue.

        Prussick next moves to preclude the Government from cross-examining him as

  to his drug-related prior convictions, contending its prejudicial effect substantially

  outweighs its probative value. Def. Mem. at 17 (discussing Fed. R. Evid. 609). The

  Government admits an intention to cross-examine Prussick about two convictions—

  Falsely Reporting an Offense or Incident to Law Enforcement in the Third Degree

  and Possession of a Forged Instrument in the Third Degree, each more than ten years

  old—in order to impeach his credibility. Gov’t Opp. at 49–55. The Government also

  intends only “to ask [Prussick] the statutory name of the offense, the date of the

  conviction, and that the conviction was for a misdemeanor offense.” Id. (citing United

  States v. Estrada, 430 F.3d 606, 615 (2d Cir. 2005)). In reply, Prussick proposes that

  the issue “is more appropriate for a motion in limine.” Def. Reply Memorandum at

  21 (“Def. Reply”) [DE 68]. Accordingly, Prussick’s motion on this issue is denied with

  leave to renew in a motion in limine.

        Prussick calls for notice of evidence pursuant to Federal Rule of Evidence

  404(b), adding that “[c]ourts in [the Second] Circuit generally require the

  [G]overnment to provided 404(b) notice to the defense at least two weeks prior to

  trial.” Def. Mem. at 18 (citing United States v. Vega, 309 F. Supp. 2d 609, 617




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  (S.D.N.Y. 2004)). The Court has not yet set a trial date but the Government states it

  “will provide notice . . . at least three weeks before trial.” Gov’t Opp. at 55. The Court

  finds the Government’s anticipated timing reasonable. See Fed. R. Evid. 404(b); e.g.,

  United States v. Ogando, 2009 WL 4927541, at *3 (S.D.N.Y. Dec. 16, 2009) (“Ten days

  has routinely been held in this Circuit to constitute sufficient notice under Rule

  404(b).”). Prussick’s motion is denied at the present time; he may renew it orally or

  in writing should the Government not adhere to its timeline.

        Prussick asks for early disclosure, at most thirty days before trial, of the names

  of all witnesses to be called at trial and for the grand jury witness testimony. Def.

  Mem. at 19. He contends it “would help enable [him] to prepare his defense.” Id.

  The Court may not compel the Government to identify its witnesses at this time

  absent “a specific showing that [it is] both material to the preparation of the defense

  and reasonable in light of the circumstances.” United States v. Bejasa, 904 F.2d 137,

  139-140 (2d Cir.1990) (internal quotation marks and alterations omitted); United

  States v. Beeman, 2003 WL 22047871, at *5 (S.D.N.Y. Aug. 29, 2003) (“[T]he

  Government is not obligated to disclose the identities of witnesses prior to trial unless

  the Defendant makes a showing that this knowledge is material to his defense.”).

  Similarly, to obtain the grand jury witness testimony, Prussick must show that “a

  particularized need” exists and outweighs the policy of secrecy surrounding grand

  jury proceedings. Pittsburgh Plate Glass Co. v. United States, 360 U.S. 395, 400, 79

  S. Ct. 1237, 3 L.Ed.2d 1323 (1959). Prussick’s showing is insufficient to compel the




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  Government to disclose such information at this time, and his motion on these issues

  is denied.

        Next, Prussick moves the Court “to direct the [G]overnment to disclose”

  material under Federal Rules of Criminal Procedure 12 and 16 “if not already

  provided.” Def. Mem. at 19. The Government asserts that it has complied thus far

  with its obligations pursuant to Rules 12 and 16, with plans to supplement certain

  already-made disclosures, and that it will continue to provide additional material as

  it comes in. Gov’t Opp. at 59–60. “This Court has no reason to believe that the

  Government has not acted reasonably and in good faith to comply with” its Rules 12

  and 16 “obligations[] and is satisfied with the Government’s representations that it

  will continue to do so.” United States v. Ordaz-Gallardo, 520 F. Supp. 2d 516, 518

  (S.D.N.Y. 2007) (Rule 16); United States v. Otibu, 2002 WL 1033882, at *5 (S.D.N.Y.

  May 21, 2002) (Rule 12). This portion of Prussick’s motion is denied.

        Prussick also requests Jencks Act material. Def. Mem. at 19, 23. The Jencks

  Act empowers the Court to order such disclosure “[a]fter a witness called by the

  United States has testified on direct examination.” 18 U.S.C. § 3500(b); United States

  v. Coppa, 267 F.3d 132, 146 (2d Cir. 2001) (holding a “district court exceed[s] its

  authority” in ordering early disclosure of Jencks Act material). The Government

  intends to produce Prussick’s requested material “two weeks before trial,” Gov’t Opp.

  at 56, and its representation is “sufficient at this juncture,” United States v.

  Rodriguez-Perez, 2012 WL 3578721, at *11 (S.D.N.Y. Aug. 16, 2012) (declining to




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  order early disclosure of Jencks Act material where the Government represented it

  would do so “one week before trial”). Prussick’s motion to this end is denied.

        Lastly, Prussick asks the Court to enter an order requiring the Government to

  comply with its obligations under Brady, Giglio, and their progeny. Def. Mem. at 21–

  25; see Brady v. Maryland, 373 U.S. 83 (1963); Giglio v. United States, 405 U.S. 150

  (1972). Prussick does not contend the Government has failed to do so up to this point.

  As with its other obligations, the Government maintains it has complied thus far and

  “will produce such material in a timely manner should any be [hereinafter]

  discovered.” Gov’t Opp. at 57–59. With regard to Giglio material specifically, the

  Government agrees to produce it “two weeks before trial.” Id. The Court has no

  reason to believe otherwise, and Prussick’s motion on this issue is therefore denied

  at this time. E.g., United States v. Avenatti, 2021 WL 4120539, at *6 (S.D.N.Y. Sept.

  9, 2021) (citing cases); United States v. Freeman, 2019 WL 2590747, at *2 (S.D.N.Y.

  June 25, 2019).

                                    CONCLUSION

        For the reasons discussed above, Prussick’s motion as to issues unaddressed

  by this Court’s bench decision on October 8, 2021 are denied.

  SO ORDERED.


  Dated: Central Islip, New York                s/ Denis R. Hurley
         October 21, 2021                       Denis R. Hurley
                                                United States District Judge




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